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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE: FCA US LLC MONOSTABLE
ELECTRONIC GEARSHIFT LITIGATION                    Case Number 16-md-02744
                                                   Honorable David M. Lawson
              MDL No. 2744                         Magistrate Judge David R. Grand

_____________________________________

DEDRA MANEOTIS,

       Plaintiff,                                  Case Number 17-10351
v.                                                 Honorable David M. Lawson

FCA US, LLC,

       Defendant.



STIPULATION TO EXTEND TIME FOR PLAINTIFF DEDRA MANEOTIS
 TO RESPOND TO DEFENDANT’S MOTION FOR JUDGMENT ON THE
                  PLEADINGS (DKT. #171)

       The Parties, by and through their respective counsel, hereby stipulate and

agree that the time for Plaintiff Dedra Maneotis to respond to Defendant’s Motion

for Judgment on the Pleadings (dkt #171), if necessary, be extended by 7 days, or

until December 13, 2017.

       On Monday, December 4, 2017, the Parties submitted a Stipulation (dkt

#177) and Proposed Order to file an amended complaint for Plaintiff Dedra

Maneotis in lieu of filing a Response to Defendant’s Motion for Judgment on the

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Pleadings. Additionally, Plaintiff filed the amended complaint for which she was

seeking Court approval (dkt #178).

      The Response to Defendant’s Motion for Judgment on the Pleadings is due

today, December 6, 2017. If the Court denies Plaintiff the opportunity to file the

amended complaint, and instead orders a Response to the Motion for Judgment on

the Pleadings be filed, Plaintiff respectfully requests a one-week extension (until

December 13, 2017) to file this Response.

      Importantly, Plaintiff’s counsel and the primary contact for her case,

Christopher Pitoun, had to immediately evacuate (with his family) his Los Angeles

home during today’s early morning hours due to the threatening and spreading

California wildfires. Mr. Pitoun has been unable to access a computer and has had

trouble communicating with other attorneys and individuals throughout the day. As

a result of these unforeseen circumstances, Plaintiff respectfully requests an

extension of time to file her Response, if the Court rejects the amended complaint

and orders a Response be filed.

      The Parties have stipulated and agreed that the time for Plaintiff Dedra

Maneotis to respond to Defendant’s Motion for Judgment on the Pleadings (dkt

#171), if a Response is deemed to be necessary by the Court, be extended by 7

days, or until December 13, 2017.




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Stipulated and Agreed on December 6, 2017:

/s/ Michael R. Williams (w/consent)            /s/ E. Powell Miller__________
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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 6, 2017, I electronically filed the

foregoing document with the Clerk of the Court using the ECF System, which will

send notification to the ECF counsel of record.




                                      By:       /s/ E. Powell Miller
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